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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 13-799V
                                      Filed: August 25, 2020
                                          UNPUBLISHED

                                                                    Special Master Horner
    JESSICA FOUCH,

                         Petitioner,                                Interim Attorneys’ Fees and
    v.                                                              Costs Decision; Reasonable
                                                                    Basis
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Renee J. Gentry, Vaccine Injury Clinic, George Washington Univ. Law School,
Washington, DC , for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

           DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS1

        On March 17, 2020, petitioner filed a second motion2 for an award of interim
attorneys’ fees and costs in the amount of $43,121.90 for her prior counsel, Diana
Stadelnikas. (ECF No. 133.) In response, respondent stated that “[s]hould the Special
Master be satisfied that the reasonable basis and interim fee award standards are met
in this case, respondent respectfully requests that the Court exercise its discretion and
determine a reasonable award for attorneys’ fees and costs.” (ECF No. 141.) For the
reasons discussed below, I award petitioner interim attorneys’ fees and costs in the
reduced amount of $37,346.21.




1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2This is petitioner’s third motion for interim attorneys’ fees and costs overall, but second motion for an
award for Ms. Stadelnikas.

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      I.       Procedural History

        On October 15, 2013, petitioner filed this claim, under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that as a result of her June
18, 2011 Tdap vaccination she suffered a Table injury, anaphylaxis.3 (ECF No. 1.) This
case was originally assigned to Special Master Millman. (ECF No. 2.) On February 21,
2014, petitioner filed an amended petition, alleging that her June 18, 2011 Tdap
vaccination caused her autoimmune/inflammatory syndrome induced by adjuvants
(“ASIA”). (ECF No. 12.) Along with the amended petition, petitioner filed a letter from
Dr. Deborah McCurdy to support her claim. (ECF No. 12; Ex. 28.) Subsequently,
petitioner filed a supplemental expert report from Dr. McCurdy on March 25, 2014.
(ECF No. 15.)

       In response, respondent filed expert reports from Drs. Edward W. Cetaruk, J.
Lindsay Whitton, and Carlos D. Rose. (ECF Nos. 23, 26.) Additionally, on September
17, 2014, respondent filed his Rule 4(c) report, recommending against compensation.
(ECF No. 26.) Thereafter, petitioner filed a second supplemental report from Dr.
McCurdy and letters from Dr. Joshua Davidson, immunologist, and Dr. Ruth
Demonteverde, pediatrician. (ECF No. 31.) Respondent then also filed supplemental
reports from his three experts. (ECF No. 37.) Special Master Millman intended to
schedule an entitlement hearing in this case; however, petitioner wished to file an expert
report from Dr. Yehuda Shoenfeld and was also undergoing additional treatment.
Therefore, no entitlement hearing was scheduled. (ECF Nos. 38, 42.)

        On September 25, 2015, petitioner filed a motion for interim attorneys’ fees and
costs on behalf of her first attorney, Jaime E. Moss. (ECF No. 48.) Special Master
Millman granted petitioner’s motion for interim attorneys’ fees and costs for Ms. Moss on
February 22, 2016, awarding $48,247.88 in interim attorneys’ fees and costs incurred
up to and including September 13, 2015, when Ms. Moss withdrew from this case.
(ECF No. 60.) Special Master Millman indicated that “petitioner had a reasonable basis
to bring this claim, at least up until the withdrawal of her former attorney, Ms. Moss.”
(Id. at 7.) Additionally, contrary to respondent’s objection against expert fees for Dr.
McCurdy, Special Master Millman awarded petitioner a reduced amount of $16,800.00
in expert fees for Dr. McCurdy, representing an hourly rate of $400.00 for 42 hours of
work performed. (Id. at 13.)

       On October 12, 2015, Diana L. Stadelnikas was substituted as the attorney of
record in place of Ms. Moss. (ECF No. 49.) Initially she collected and filed additional
medical records. However, during a status conference on January 5, 2017, petitioner’s
counsel indicated that she would not file any additional expert reports and that she
intended to withdraw from this case. (ECF No. 75.) Subsequently, petitioner filed a
motion for interim attorneys’ fees and costs incurred by Ms. Stadelinkas. (ECF No. 77.)
Additionally, petitioner’s counsel’s motion to withdraw was granted and petitioner
proceeded pro se. (ECF Nos. 78, 82.) On April 24, 2017, Special Master Millman
denied petitioner’s motion for interim attorneys’ fees and costs for Ms. Stadelnikas,

3   Initially the petition was brought on behalf of petitioner by her parents as she was a minor at that time.

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ruling that “it is premature for the undersigned to decide whether petitioner’s case
continued to have a reasonable basis after her first attorney, Ms. Moss, withdrew.”
(ECF No. 87.) Special Master Millman, however, indicated that it is possible the
petitioner’s new attorney may prove vaccine causation in this case, but that “[t]he
undersigned simply does not have enough information to determine the issue of
reasonable basis at this juncture in the case.” (Id. at 2.)

       On May 9, 2017, Renee J. Gentry was substituted as counsel. (ECF No. 88.)
Petitioner then filed an expert report from Drs. Judy Mikovitz and Frank Ruscetti.4 (ECF
No. 99.) This case was then reassigned to my docket on June 5, 2019 upon Special
Master Millman’s retirement. (ECF No. 120.) On September 9, 2019, petitioner filed an
expert report from Dr. Shoenfeld. (ECF No. 122.) In response, respondent filed
additional supplemental reports from Drs. Whitton and Rose.

       Petitioner filed this instant motion for interim attorneys’ fees and costs on March
17, 2020. (ECF No. 133.) Respondent filed four motions for an extension of time to file
his response to petitioner’s motion for interim attorneys’ fees and costs. (ECF Nos. 134,
137, 138, 140.) Thereafter, on July 24, 2020, respondent filed his response, deferring
to the special master in all regards. (ECF No. 141, p. 4.) Respondent’s response
mostly consisted of boilerplate language that respondent has filed in many other cases
indicating that respondent no longer has sufficient resources to provide detailed
objections and requesting the special master exercise his discretion to determine the
appropriateness of petitioner’s request.5 (Id. at n.2.) Petitioner did not file a reply.

       Accordingly, petitioner’s motion for interim attorneys’ fees and costs is now ripe
for resolution.

    II.     Discussion

            a. An Award of Interim Attorneys’ Fees and Costs is Appropriate

        Section 15(e)(1) of the Vaccine Act allows the special master to award
“reasonable attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are
entitled to an award of reasonable attorneys' fees and costs if they receive
compensation under the Vaccine Act, or, even if they are unsuccessful, if the special

4
 However, this report was later struck from the record on March 31, 2020, following petitioner’s motion to
strike. (ECF No. 132.)

5 In his response to Ms. Moss’s motion for interim attorneys’ fees and costs, subsequently granted by
Special Master Millman, respondent argued this case lacked a reasonable basis. (ECF No. 51.) In his
response to Ms. Stadelnikas’s first motion for interim fees and costs, subsequently denied by Special
Master Millman, respondent renewed the arguments presented in his response to the first interim fee
motion. (ECF No. 80.) In response to the instant motion, respondent does not take any position
regarding whether this petition has a reasonable basis. (ECF No. 141.) Respondent did, however,
challenge the credibility of the Mikovits and Ruscetti report filed by current counsel, which may remain
relevant regarding attorneys’ fees and costs relative to any later motion filed by current counsel of record.
(Id. at n.1.)


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master finds that the petition was filed in good faith and with a reasonable basis. Avera
v. Sec'y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008). Stressing
the absence of any prevailing party requirement under the Vaccine Act, the Federal
Circuit has held in Avera that interim awards for attorneys’ fees and costs are
appropriate under the Vaccine Act. Id. (citing §300aa-15(e)(1)). The Circuit noted that
interim awards are “particularly appropriate in cases where proceedings are protracted
and costly experts must be retained.” Id. Subsequently, in Shaw v. Secretary of Health
& Human Services, the Federal Circuit reiterated its Avera standard, noting that “[w]here
the claimant establishes that the cost of litigation has imposed an undue hardship and
that there exists a good faith basis for the claim, it is proper for the special master to
award interim attorneys’ fees.”6 609 F.3d 1372, 1375 (Fed. Cir. 2010).

        “Good faith” is a subjective standard. Hamrick v. Sec’y of Health & Human
Servs., No. 99-683V, 2007 WL 4793152, at *3 (Fed. Cl. Spec. Mstr. Nov. 19, 2007). A
petitioner acts in “good faith” if he or she holds an honest belief that a vaccine injury
occurred. Turner v. Sec’y of Health & Human Servs., No. 99-544V, 2007 WL 4410030,
at *5 (Fed. Cl. Spec. Mstr. Nov. 30, 2007). The standard for finding good faith has been
described as “very low,” and findings that a petition lacked good faith are rare. Heath v.
Sec’y of Health & Human Servs., No. 08-86V, 2011 WL 4433646, *2 (Fed Cl. Spec.
Mstr. Aug. 25, 2011). After multiple motions for interim attorneys’ fees and costs,
petitioners’ good faith has never been disputed throughout the pendency of this case.
(See ECF Nos. 51, 80, 141.)

        In contrast, the question of whether a claim has a “reasonable basis” is objective
and must be affirmatively established by the petitioner. McKellar v. Sec’y of Health &
Human Servs., 101 Fed. Cl. 297, 305 (2011). The special master looks “not at the
likelihood of success [of a claim] but more to the feasibility of the claim.” Turner, 2007
WL 4410030, at *6 (citing Di Roma v. Sec’y of Health & Human Servs., No. 90-3277V,
1993 WL 496981, at *1 (Fed. Cl. Spec. Mstr. Nov. 18, 1993)). The claim of a
“reasonable basis” must be based on more than “unsupported speculation.” Perreira v.
Sec’y of Health & Human Servs., 33 F.3d 1375, 1377 (Fed. Cir. 1994).

       The reasonable basis determination is “an objective inquiry unrelated to
counsel’s conduct.” Simmons v. Sec’y of Health & Human Servs., 128 Fed. Cl. 579,
582 (2016), aff’d, 875 F. 3d 632, 636 (Fed. Cir. 2017). However, a special master may
assess “a variety of other factors,” including “the factual basis of the claim, the medical
and scientific support for the claim, the novelty of the vaccine, and the novelty of the
theory of causation.” Amankwaa v. Sec’y of Health & Human Servs., 138 Fed. Cl. 282
(2018); accord Cottingham v. Sec’y of Health & Human Servs., --- F.3d ----, 2020 WL
4810095 (Fed. Cir. 2020). “A claim can lose its reasonable basis as the case


6 Multiple applications for interim attorneys’ fees and costs are ordinarily disfavored absent unusual
circumstances. Accord Kottenstette v. Sec’y of Health & Human Servs., 15-1016V, 2019 WL 5709372
(Fed. Cl. Spec. Mstr. Oct. 11, 2019) (finding a second award of interim fees reasonable where, inter alia,
the court entertained a stay of proceedings while review was pending). Here, given the length of time
since Ms. Stadelnikas withdrew as counsel and the current posture of the case, I find that this application
is reasonable.

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progresses.” R.K. v Sec’y of Health & Human Servs., 760 Fed. Appx. 1010, 1012 (Fed.
Cir. 2019) (citing Perreira, 33 F.3d at 1376-77).

        Here, despite a protracted and ongoing history, the instant motion involves only
the fraction of this case’s history during which petitioner’s second attorney, Diana
Stadelinkas, was counsel of record. Initially, when Ms. Stadelnikas withdrew as
counsel, Special Master Millman denied her motion for interim attorneys’ fees and costs,
suggesting that it was premature at that time to assess reasonable basis. (ECF No.
87.) For the reasons discussed below, however, I conclude on this renewed motion
seeking the same fees and costs that the subsequent history in this case reveals in
hindsight that Ms. Stadelnikas’s approach to the case was distinct from the path taken
by succeeding counsel. Accordingly, it no longer appears necessary to await
petitioner’s ultimate success or failure based on her current theory to determine whether
this case previously had a reasonable basis during the period when it was prosecuted
by Ms. Stadelnikas. Moreover, I find that the case did have a reasonable basis at that
time.

        When petitioner’s first attorney of record, Jaime Moss, departed from this case,
Special Master Millman addressed reasonable basis in the context of a motion for an
award of interim fees for former counsel.7 (ECF No. 60.) By that time, multiple expert
reports had been exchanged. Respondent had filed expert reports by immunologist
Lindsay Whitton, M.D., Ph.D., toxicologist Edward Cetaruk, M.D., and rheumatologist
Carlos Rose, M.D. (Exs. A-F.) Petitioner was relying upon reports by treating
rheumatologist Deborah McCurdy, M.D., and immunologist Joshua Davidson, M.D.,
MPH, who provided reports endorsing the theory of autoimmune inflammatory
syndrome induced by adjuvants (“ASIA”), a theory developed by Yehuda Shoenfeld.
(Ex. 28.) In response to petitioner’s first interim fee motion, respondent argued that
petitioner did not have a reasonable basis for this petition because she had not
demonstrated “a compensable, medically-recognized injury.” (ECF No. 51, p. 6.)
Respondent noted that a similar ASIA allegation had been previously rejected and also
stressed that ASIA was never a part of Dr. McCurdy’s own clinical assessment in her
medical records. (Id. at n.3, p. 6.)

        Although Special Master Millman was likewise concerned that “ASIA is not widely
accepted in the medical community,” she stressed that petitioner’s medical records
supported the presence of the symptoms alleged in the petition, further noted
petitioner’s contention that autoimmune illnesses are difficult to diagnose, and also
suggested the medical records showed that petitioner had likely been ill following her
vaccination. (ECF No. 60, p. 7.) She found that the case had a reasonable basis up to
that point, despite her specific concerns regarding ASIA, because “Dr. McCurdy is a
reputable doctor with excellent credentials, and her support of petitioner’s theory gave
petitioner a reasonable basis to move forward with her claim.” (Id.) In particular, Special
Master Millman stressed Dr. McCurdy’s long-time role as the director of rheumatology at

7  Both petitioner’s motion for interim fees and Special Master Millman’s decision awarding interim fees
characterize Ms. Moss’s exit as withdrawing (ECF No. 48, p. 1; ECF No. 60, p. 1.) In fact, Ms. Stadelnikas
filed a consented motion to substitute as counsel. (ECF No. 49.)

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Children’s Hospital of Orange County, her role as a clinical professor at UCLA medical
school, and her authorship of over 50 peer-reviewed research papers. (Id.) Thus,
Special Master Millman suggested that it remained feasible based on the record at that
time that a claim could be developed for an autoimmune condition grounded in
rheumatology, though likely not reliant on the ASIA concept.

       Significantly, however, departing counsel had apparently not by that time
completed the record of the case. (ECF No. 47.) Just prior to Ms. Moss’s departure,
Special Master Millman noted that certain of the previously filed medical records were
incomplete and ordered the filing of complete medical records from at least ten different
physicians. (Id.) Collecting these medical records constituted the bulk of activity in this
case from the time Ms. Stadelinkas entered her appearance in October of 2015 until
Special Master Millman held a follow up status conference in May of 2016. (ECF No.
71.)

        During the May 2016 status conference, Special Master Millman explained upon
review of the subsequently filed medical records that she had become concerned that
petitioner’s medical records now revealed a possible diagnosis of somatic disorder
caused by anxiety and recommended for the first time that the case be dismissed. (Id.)
Consistent with Special Master Millman’s prior decision awarding interim attorneys’ fees
and costs – wherein reasonable basis was found based in significant part on the
strength of Dr. McCurdy’s status as a well-regarded treating rheumatologist – Ms.
Stadelnikas requested an opportunity to consult a pediatric rheumatologist before
determining how to proceed. (Id.) The remainder of Ms. Stadelnikas’s tenure as
counsel of record was devoted to seeking a causation opinion based in rheumatology
and when she was unable to produce such a report she moved to withdraw as counsel
on February 6, 2017.8 (ECF Nos. 72-78.)

        Subsequent history shows, however, that in contrast to Ms. Stadelnikas’s pursuit
of a further rheumatology opinion, petitioner’s third attorney, Ms. Gentry, has returned to
pursuing this case under the broader ASIA theory about which Special Master Millman
had previously expressed concern.9 Accordingly, petitioner’s ultimate success or failure
in proving the previously-questioned ASIA diagnosis and theory of causation (and the

8The process of determining whether an expert would opine was slowed by the fact that certain of
petitioner’s medical records were deemed illegible. (ECF No. 72.) Before securing an expert opinion,
steps were initially taken to have these records clarified for expert review. (ECF Nos. 72-73, 76.)

9 Petitioner first filed an expert report by Drs. Mikovits and Ruscetti (subsequently struck by motion of
petitioner) and later filed an expert report by Dr. Yehuda Shoenfeld. (ECF Nos. 99-105, 122.) Dr.
Shoenfeld opined that petitioner suffered macrophagic myofascitis syndrome and/or ASIA. (Ex. 97, p.
30.) Dr. Shoenfeld did include some broader catch-all language in his report suggesting that petitioner
may alternatively have experienced “simply [a] vaccine reaction and subsequent autoimmune symptoms.”
(Ex. 97, p. 31.) It is clear from review of his report as a whole, however, that his opinion is that
petitioner’s entire constellation of symptoms is best explained as ASIA. Nothing in the record of this case,
including Ms. Stadelnikas’s billing records and invoices, suggests that she intended to pursue such a
theory. In fact, there is no indication Ms. Stadelinkas ever consulted Dr. Shoenfeld, despite the fact that
petitioner’s preceding and succeeding counsel both consulted him with regard to this specific case. (ECF
Nos. 40, 122.)

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feasibility of doing so) largely poses a separate question from whether the objective
evidence in this case provided a feasible platform for Ms. Stadelinikas’s pursuit of a
separate opinion regarding a rheumatologic injury.

        At the time Ms. Stadelnikas entered this case the reasonable basis for the filing
of the petition was confirmed by Special Master Millman’s first interim fee decision with
regard to a potential rheumatologic injury. Although she expressed concerns specific to
the ASIA theory, Special Master Millman found that the case had a reasonable basis in
light of petitioner’s symptom presentation and the fact of her having a supportive opinion
by her well-qualified treating rheumatologist, albeit based on a theory with which Special
Millman had concerns. Ms. Stadelnikas’s exploration of the merits of this case, which, in
fact, served mainly to complete the filing of outstanding medical records, was limited
and confined within the boundaries of feasibility described by Special Master Millman at
the time. Accordingly, for the same reasons described in Special Master Millman’s
February 22, 2016 decision awarding interim attorneys’ fees and costs, I now find that
by that same rationale the reasonable basis for the filing of this petition did also extend
to the point of Ms. Stadelnikas’s withdrawal as counsel of record.

          b. Reasonableness of the Requested Award

                  i. Interim Attorneys’ Fees

        It is “well within the special master’s discretion” to determine the reasonableness
of fees. Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521-22 (Fed. Cir.
1993); see also Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991)
(“[T]he reviewing court must grant the special master wide latitude in determining the
reasonableness of both attorneys’ fees and costs.”). The Federal Circuit has approved
the lodestar approach to determine reasonable attorneys’ fees and costs under the
Vaccine Act. Avera, 515 F.3d at 1347. This is a two-step process. Id. at 1347-48.
First, a court determines an “initial estimate…by ‘multiplying the number of hours
reasonably expended on the litigation times a reasonable hourly rate.’” Id. (quoting
Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second the court may make an upward or
downward departure from the initial calculation of the fee award based on specific
findings. Id. at 1348.

        A reasonable hourly rate is “the prevailing market rate defined as the rate
prevailing in the community for similar services by lawyers of reasonably comparable
skill, experience, and reputation.” Avera, 515 F.3d at 1348 (citation and quotation
omitted). The decision in McCulloch provides a further framework for consideration of
appropriate ranges for attorneys’ fees based upon the experience of the practicing
attorney. McCulloch v. Sec’y of Health & Human Servs., No. 09-293V, 2015 WL
5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1, 2015), motions for recons. denied, 2015
WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The Office of Special Masters has




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subsequently updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015-2016, 2017, 2018, 2019 and 2020 can be accessed online.10

        In this case, petitioner is seeking $39,311.80 in interim attorneys’ fees for work
performed in 2015 through 2017. I have reviewed the billing records submitted with
petitioner’s request, and in my experience, the hourly rates billed for 2015 through 2017
for attorney time and paralegal time, are all reasonable and in accord with prior awards
made by other special masters as well as the above-discussed Attorneys’ Forum Hourly
Rate Fee Schedules.

        Special masters may rely on their experience within the Vaccine Program to
determine the reasonable number of hours expended. Wasson v. Sec’y of Health &
Human Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant
part¸ 988 F.2d 131 (Fed. Cir. 1993). It is well-established that billing for clerical and
other secretarial work is not permitted in the Vaccine Program. Rochester v. United
States, 18 Cl. Ct. 379, 387 (1989) (denying an award of fees for time billed by a
secretary and finding that “[these] services…should be considered as normal overhead
office costs included within the attorneys’ fees rates”); Mostovoy v. Sec’y of Health &
Human Servs., No. 02-10V, 2016 WL 720969, at *5 (Fed. Cl. Spec. Mstr. Feb. 4, 2016).
Special masters have previously reduced the fees paid to petitioners due to excessive
and duplicative billing. See Ericzon v. Sec’y of Health & Human Servs., No. 10-103V,
2016 WL 447770 (Fed. Cl. Spec. Mstr. Jan. 15, 2016) (reduced overall fee award by 10
percent due to excessive and duplicative billing); Raymo v. Sec’y of Health & Human
Servs., No. 11-654V, 2016 WL 7212323 (Fed. Cl. Spec. Mstr. Nov. 2, 2016) (reduced
overall fee award by 20 percent), mot. for rev. denied, 129 Fed. Cl. 691 (2016). Special
masters have also previously noted the inefficiency that results when cases are staffed
by multiple individuals and have reduced fees accordingly. See Sabella v. Sec’y of
Health & Human Servs., 86 Fed. Cl. 201, 209 (2009). Additionally, special masters
have previously found it reasonable to reduce the fees paid to petitioners due to billing
for intra-office communication. Soto v. Sec’y of Health & Human Servs., No. 09-897V,
2011 WL 2269423, at *6 (Fed. Cl. Spec. Mstr. June 7, 2011); Carcamo v. Sec’y of
Health & Human Servs., No. 97-483V, 2011 WL 2413345, at *7 (Fed. Cl. Spec. Mstr.
May 20, 2011). Special masters can reduce a fee request sua sponte, without providing
petitioners notice and opportunity to respond. See Sabella, 86 Fed. Cl. at 729.

        Turning to reasonable hours expended, I find that petitioner’s prior counsel
included entries that are duplicative and excessive due to attorney and paralegal billing
for reviewing the same orders and/or reviewing status of case/case file.11 Further,

10 Each of the Fee Schedules for 2015 through 2020 can be accessed at
http://www.cofc.uscourts.gov/node/2914. The hourly rates contained within the schedules are derived
from the decision in McCulloch, 2015 WL 5634323. The schedules for 2017, 2018, 2019, and 2020 are
adjusted for inflation using the Producer Price Index for Offices of Lawyers (“PPI-OL”).

11For example, there were duplicative and excessive entries for reviewing the same orders and/or
reviewing the case file together on September 16, 2015, October 13, 2015, November 10, 2015,
December 4, 2015, and August 8, 2016. These examples indicate various entries that are duplicative and
excessive, however, this list is not exhaustive.

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counsel billed for intra-office communication, including entries billed by attorney for
“email to paralegal” and also entries billed by paralegals for “email to attorney. Send
reply.”12 Additionally, these intra-office communications are duplicative and excessive
when the same correspondence is being sent and read by multiple paralegals. Even
further, counsel included entries that are deemed secretarial and/or clerical by nature,
including paralegals billing for processing/sending payment/invoices.13 For all these
reasons, I find a 5% reduction ($1,965.59) of the interim attorneys’ fee award to be
reasonable. A special master need not engage in a line-by-line analysis of petitioner’s
fee application when assessing fees. Broekelschen v. Sec’y of Health & Human Servs.,
102 Fed. Cl. 719, 729 (2011). Accordingly, petitioner is awarded a reduced amount of
$37,346.21 in interim attorneys’ fees.

                     ii. Interim Attorneys’ Costs

       Attorneys’ costs must be reasonable as well. See Perreira v. Sec’y of Health &
Human Servs., 27 Fed. Cl. 29, 34 (1992) (“The conjunction ‘and’ conjoins both
‘attorneys’ fees’ and ‘other costs’ and the word ‘reasonable’ necessarily modifies both.
Not only must any request for reimbursement of attorneys’ fees be reasonable, so also
must any request for reimbursement of costs.”). When petitioners fail to carry their
burden, such as by not providing appropriate documentation to substantiate a requested
cost, special masters have refrained from awarding compensation. See, e.g., Gardner-
Cook v. Sec’y of Health & Human Servs., No. 99-480V, 2005 WL 6122520, at *4 (Fed.
Cl. Spec. Mstr. June 30, 2005).

        Here, petitioner requests $3,810.10 in interim attorneys’ costs, mainly consisting
of costs incurred in obtaining records and transcriptions. Petitioner provided solely the
office invoice of the total costs incurred, without any further supporting documentation
such as receipts, specific invoices, or proofs of payment. (See ECF No. 133-4.) As
stated above, this is petitioner’s second request for these interim attorneys’ fees and
costs for Ms. Stadelnikas. Upon my review of the first motion, petitioner likewise failed
to provide any supporting documentation at that time. (ECF No. 77-2.) Accordingly, I
do not find the requested costs to be reasonable due to lack of supporting evidence.
Therefore, petitioner’s request for attorneys’ costs is denied in full.




12 For example, there were entries billed for intra-office communication on February 10, 2016, February
19, 2016, February 23, 2016, February 24, 2016, March 3, 2016, March 24, 2016, September 8, 2016,
and October 5, 2016. These examples indicate various forms of intra-office communication that were
billed. This list is not exhaustive.

13For example, there were clerical/secretarial entries billed for processing and/or “send out” payment on
March 2, 2016, May 26, 2016, June 6, 2016, June 8, 2016, October 4, 2016, October 24, 2016, and
January 11, 2017. Additionally, there were other entries billed that appear secretarial/clerical in nature,
including “Open new client file,” on September 9, 2015 and “Create new reminder and add case notes,”
on February 22, 2016. This list consists of mere examples and not meant to be exhaustive.

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     III.      Conclusion

       In light of the above, petitioner’s motion for an award of interim attorneys’ fees
and costs is hereby GRANTED and petitioner is awarded $37,346.21 in interim
attorneys’ fees and costs.

      Accordingly, I award the total of $37,346.21 as a lump sum in the form of a
check jointly payable to petitioner and petitioner’s prior counsel Diana L.
Stadelnikas.

            The clerk of the court shall enter judgment in accordance herewith.14

IT IS SO ORDERED.

                                                          s/Daniel T. Horner
                                                          Daniel T. Horner
                                                          Special Master




14Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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